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 1   TRACY L. WILKISON
     Attorney for the United States,
 2   Acting Under Authority Conferred by
     28 U.S.C. § 515
 3   PATRICK R. FITZGERALD
     Assistant United States Attorney
 4   Chief, National Security Division
     CHRISTOPHER D. GRIGG (California Bar No. 220243)
 5   Assistant United States Attorney
     Chief, Terrorism and Export Crimes Section
 6   MELANIE SARTORIS (California Bar No. 217560)
     DEIRDRE Z. ELIOT (California Bar No. 145007)
 7   Assistant United States Attorneys
     Terrorism and Export Crimes Section
 8        3403 Tenth Street
          Suite 200
 9        Riverside, California 92501
          Telephone: (213) 894-5429
10                   (213) 894-5615
                     (714) 338-3599
11        Facsimile: (213) 894-7631
                     (714) 338-3561
12        E-mail:    christopher.grigg@usdoj.gov
                     melanie.sartoris@usdoj.gov
13                   deirdre.eliot@usdoj.gov

14
     Attorneys for Plaintiff
15   UNITED STATES OF AMERICA

16                           UNITED STATES DISTRICT COURT

17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

18                                  EASTERN DIVISION

19   UNITED STATES OF AMERICA,                No. CR 15-93-JGB

20             Plaintiff,                     GOVERNMENT’S OPPOSED EX PARTE
                                              APPLICATION FOR ORDER REQUIRING
21                   v.                       DISCLOSURE OF DEFENDANT’S EXPERT
                                              REPORT(S); [PROPOSED] ORDER
22   ENRIQUE MARQUEZ, JR.,

23             Defendant.

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 1        The United States of America, by and through its counsel of

 2   record, hereby applies for an order requiring defendant Enrique

 3   Marquez, Jr. (“defendant”), to disclose expert reports he intends to

 4   introduce in support of his position at sentencing.           Defendant

 5   opposes this application.

 6        This application rests on the attached memorandum, the files and

 7   records in this case, and such further evidence and argument as the

 8   Court may allow.

 9   Dated: May 25, 2018                  Respectfully submitted,

10                                        TRACY L. WILKISON
                                          Attorney for the United States,
11                                        Acting Under Authority Conferred by
                                          28 U.S.C. § 515
12
                                          PATRICK R. FITZGERALD
13                                        Assistant United States Attorney
                                          Chief, National Security Division
14

15                                         /s/ Melanie Sartoris
                                          CHRISTOPHER R. GRIGG
16                                        DEIRDRE Z. ELIOT
                                          MELANIE SARTORIS
17                                        Assistant United States Attorneys

18                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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 1                                     MEMORANDUM
 2        Defendant’s sentencing is set for hearing on July 13, 2018.               In

 3   support of his ex parte applications to continue sentencing defendant
 4   indicated he retained a “terrorism expert because the government

 5   retained a terrorism expert.”       (CR 104; see also CR 73 ¶¶ 9-10
 6   (requesting time, in part, to consult with and retain a terrorism

 7   expert); CR 84 ¶ 6 (stating defendant retained a terrorism expert on

 8   November 18, 2017).)     The government has requested disclosure of

 9   defendant’s expert report on multiple occasions over many months, so

10   that the government is afforded a reasonable and fair opportunity to

11   evaluate it and provide any additional information respecting it to

12   the Court to consider at sentencing.        Counsel’s efforts to meet and

13   confer on a reasonable schedule have not been successful.            In recent

14   correspondence on the issue, defense counsel offered to give any

15   “expert reports” to government counsel by June 18, 2018 – a mere four

16   days prior to counsel’s proposed filing date for defendant’s

17   sentencing position paper.      This proposed disclosure date prejudices

18   the government’s opportunity to respond.

19        Counsel for the government corresponded with defense counsel

20   regarding this ex parte application.        Defense counsel advised that
21   they oppose.

22        The government disclosed its terrorism expert’s report to

23   defendant and the United States Probation Office in good faith eight

24   months ago, on September 25, 2017.        (See CR 85 at 3.)     Defendant’s
25   January 11, 2018 ex parte request for a continuance stated he
26   retained Dr. Marc Sageman in November 2017.         (CR 84 ¶ 6)    Dr. Sageman

27   is an expert witness psychiatrist who previously testified in death

28   penalty cases and in terrorism matters.        As the government has
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 1   previously noted, it is concerned that defendant is seeking to

 2   introduce mental health issues late in the proceedings, without

 3   allowing the government a fair opportunity to explore those issues.

 4   (See CR 101 at 3 n.2.)     The government has on multiple occasions
 5   requested a copy of Dr. Sageman’s report but defendant refused.

 6   Continued delay in providing this information deprives the government

 7   of its opportunity to examine the potential issues Dr. Sageman may

 8   raise, determine whether an independent mental health examination is

 9   warranted, and, if so, to retain a neutral expert witness to conduct

10   that evaluation.

11        Given the length of time defendant has had the government’s

12   expert report and that defendant’s most recent request to continue

13   sentencing was filed in the afternoon of April 9, 2018, which was the

14   deadline for defendant’s sentencing brief pursuant to the agreed-upon

15   Court-ordered schedule, one would reasonably expect that defendant

16   had the expert report completed at that time.

17        Defendant’s continued insistence on holding back his report(s),

18   denies the government a realistic opportunity to evaluate it and

19   respond, if necessary, in a meaningful way prior to the July 13, 2018

20   sentencing hearing date.      This may also deprive the United States

21   Probation Office and the Court the opportunity to receive information

22   they should receive.     Respecting the Court’s schedule, as well as the

23   interests of the victims and the parties, the government is trying to

24   avoid a need for another last-minute continuance, if it can be

25   avoided.   This issue is even more pressing as the Court’s April 11,

26   2018 Order granting defendant’s ex parte application to continue
27   sentencing, over the government’s objection, stated that the Court

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 1   will not consider further requests to continue sentencing.            (See CR
 2   105.)

 3           Accordingly, the government respectfully requests the Court to

 4   order defendant to disclose to the government any expert reports he

 5   intends to introduce in support of his position at sentencing no

 6   later than May 30, 2018.

 7   Dated: May 25, 2018                  Respectfully submitted,

 8                                        TRACY L. WILKISON
                                          Attorney for the United States,
 9                                        Acting Under Authority Conferred by
                                          28 U.S.C. § 515
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                                          PATRICK R. FITZGERALD
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                                          Chief, National Security Division
12

13                                         /s/ Melanie Sartoris
                                          CHRISTOPHER R. GRIGG
14                                        DEIRDRE Z. ELIOT
                                          MELANIE SARTORIS
15                                        Assistant United States Attorneys

16                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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